                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                     CRIMINAL DOCKET NO.: 3:04CR255-V

UNITED STATES OF AMERICA              )
                                      )
           vs.                        )                ORDER
                                      )
FLORENCIO SANMIGUEL,                  )
                Defendant.            )
_____________________________________ )

       THIS MATTER is before the Court on Defendant’s Motion To Sever, filed February

3, 2006, and the Government’s Response In Opposition, filed February 13, 2006.

(Documents #115, #118)

       For the reasons stated in the Government’s response, the Court, in its discretion,

will not sever Defendant Florencio Sanmiguel’s trial from the trial of his remaining co-

defendants.

       IT IS, THEREFORE, ORDERED that Defendant’s motion is hereby DENIED.

However, Defendant may renew his motion between now and the commencement of the

trial term on March 20, 2006, if he is able to make a sufficient showing regarding the

willingness of his co-defendants to testify on his behalf and that the proffered testimony

would, in fact, be exculpatory.


                                            Signed: March 3, 2006




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